ROANNE L. MANN DATE: _ August 3, 2016

UNITED STATES MAGISTRATE JUDGE START: 11:30 a.m.
END: __/l+-So4—~

DOCKET NO: 15-CV-7257 (RLM)

CASE: Alfaro, et al. v.. World of Chantilly, Inc., et al.

 

 

CO INITIAL CONFERENCE OD) OTHER/ORDER TO SHOW CAUSE
OO DISCOVERY CONFERENCE OO FINAL/PRETRIAL CONFERENCE
MM SETTLEMENT CONFERENCE OO. TELEPHONE CONFERENCE
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DEFENDANT ATTORNEY

 

 

 

 

 

 

O DISCOVERY TO BE COMPLETED BY
C) NEXT CONFERENCE SCHEDULED FOR
LJ JOINT PRE-TRIAL ORDER TO BE FILED VIA ECF BY

CJ PL. TO SERVE DEF. BY: DEF. TO SERVE PL. BY:

 

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